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                             IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                               EUGENE DIVISION



    THE STATE OF OREGON, KATE BROWN,                           Case No. 6:18-cv-01959-MC
    Governor; ELLEN ROSENBLUM, Attorney
    General; and THE CITY OF PORTLAND,                         JUDGMENT AND ORDER DENYING
                                                               DEFENDANTS' MOTION TO DISMISS;
                   Plaintiffs,                                 GRANTING PLAINTIFFS' MOTION FOR
                                                               SUMMARY JUDGMENT IN PART, AND
                                                               ISSUING INJUNCTIONS AND
           v.
                                                               MANDAMUS
     DONALD J. TRUMP, President of the United                                                                      Formatte
     State, in his official capacity; WILLIAM P.                                                                   Formatte
     BARR, Attorney General of the United States,
                                                                                                                   Formatte
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     in his official capacity; and the UNITED
     STATES OF AMERICA,

                      Defendants.

              This case comes before the Court on Defendants’ Motion to Dismiss (ECF No. 14), and

     Plaintiffs’ Combined Motion for Summary Judgment and Response to Defendants’ Motion to

     Dismiss (ECF No. 21) (collectively the “Motions”). After considering the Motions together with

     the supplemental briefs, pleadings, declarations, and exhibits (ECF Nos. 3, 15, 22-25, 29-30),

     and after hearing the parties arguments at oral argument, the Court makes the following findings

     of fact and conclusions of law:
                          FINDINGS OF FACT AND CLONCLUSIONS OF LAW

              1.      In the First Amended Complaint (ECF No. 3), Plaintiffs challenged five

     requirements for fiscal year (“FY”) 2017 and seven requirements for FY 2018 Edward Byrne

     Memorial Justice Assistance Grants (“Byrne JAG”), herein referred to as the “Immigration

     Enforcement Requirements.” The Immigration Enforcement Requirements at issue are found in

     paragraphs 52, 53, 54, 55, and 56 of Exhibit C to the Request for Judicial Notice filed by

     Defendants as ECF No. 15 at pages 62-66, in paragraphs 52, 53, 54, 55, and 56 of Exhibit D to

     ECF No. 15 at pages 91-95, and in paragraphs 41, 42, 43, 44, 45, 46, and 47 of Exhibit E of ECF

     No. 15 at pages 116-121.

              2.      On March 5, 2019, Defendants’ filed Defendants’ Motion to Dismiss (ECF No.

     14) and Defendants’ Request for Judicial Notice (ECF No. 15) (collectively, “Defendants’

     Motion”).

              3.      On April 8, 2019, Plaintiffs filed Plaintiffs’ Combined Motion for Summary

     Judgment and Response to Defendants’ Motion to Dismiss (ECF No. 21) and supporting
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     declarations and exhibits (ECF Nos. 22-25) (collectively, “Plaintiffs’ Motion”).
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              4.      On July 26, 2019, the Court held a hearing on Defendants’ Motion and Plaintiffs’

     Motion and heard the arguments by counsel.



              5.      On August 8, 2019, the Court issued its Opinion and Order (ECF No. 36) denying

     Defendants’ Motion and granting Plaintiffs’ Motion in part. The Court concluded that Plaintiffs

     have standing to pursue their claims and that Plaintiffs’ claims are ripe for judicial review. The

     Court further concluded that Defendants lack the delegated authority to impose the Immigration

     Enforcement Requirements and that by doing so, Defendants infringed upon the authority

     reserved to Congress under the Spending Clause of the U.S. Constitution. Finally, the Court

     found that 8 U.S.C. §§ 1373 and 1644 violate the Tenth Amendment.

              Based on its findings and conlcusionsconclusions, and pursuant to Federal Rule of Civil

     Procedure 58, the Court hereby ENTERS judgment in favor of Plaintiffs and against Defendants,

     and grants the following relief as set forth below:

                                              DECLARATION

              The Court concludes that declaratory relief under 28 U.S.C. § 2201 is appropriate in this

     case. It is

      hereby DECLARED that:

              1.      The Immigration Enforcement Requirements are unconstitutional and unlawful
     because they exceed the congressional authority conferred on the Executive Branch and are ultra

     vires on their face.

              2.      8 U.S.C. §§ 1373 and 1644 are unconstitutional on their face under the Tenth

     Amendment of the United States Constitutionunenforceable in relation to the Byrne JAG

     program.
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                                       PERMANENT INJUNCTION                                                     Formatte
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              The Court also concludes that each of the necessary elements for issuing a permanent

     injunction is met. In particular, the Court concludes that Plaintiffs have succeeded on the merits

     of their claims and that absent an injunction, Plaintiffs would suffer irreparable injury; the

     balance of equities favor Plaintiffs; and the requested relief is in the public interest.



              Pursuant to Federal Rule of Civil Procedure 65, it is now ORDERED that Defendants

     ARE HEREBY RESTRAINED AND ENJOINED from directly or indirectly committing or

     performing the following acts:

              1.      Using the Immigration Enforcement Requirements as conditions for Byrne JAG

     funding for any Oregon state entity, the City of Portland, or any Oregon political subdivision.

              2.      Withholding, terminating, or clawing back Byrne JAG funding from, or

     disbarring or making ineligible for Byrne JAG, any Oregon state entity, the City of Portland, or

     any Oregon political subdivision on the basis of the Immigration Enforcement Requirements.

              3.      Withholding, terminating, or clawing back Byrne JAG funding from, or

     disbarring or making ineligible for Byrne JAG, any Oregon state entity, the City of Portland, or

     any Oregon political subdivision on account of any grant condition challenged in this lawsuit and

     based on ORS 181A.820, ORS 180.805, or Portland Police Bureau Directive 810.10.

              4.      Enforcing 8 U.S.C. §§ 1373 and 1644’s statutory obligations in relation to the
     Byrne JAG program against any Oregon state entity, the City of Portland, or any Oregon

     political subdivision.

                                       MANDATORY INJUNCTION

              As set forth in the Court’s August 7, 2019 Opinion and Order, the Court concluded that

     all the necessary elements for issuing Plaintiffs mandamus relief are met.
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              The Court hereby ORDERS Defendants to issue to Plaintiffs without further delay the

     FY 2017 Byrne JAG awards and the FY 2018 Byrne JAG awards, without enforcement of the

     enjoined conditions, and to disburse JAG funds, upon a jurisdiction’s acceptance of the award, to

     the Oregon Criminal Justice Commission, the City of Portland, and all Oregon political

     subdivisions that applied for Byrne JAG awards for FY 2017 and/or FY 2018; provided,

     however, that nothing in this Order shall relieve any jurisdiction from its obligation to provide

     certification of, and compliance with, any other condition of the awards other than the

     Immigration Enforcement Requirements, and Defendants are not required to disburse the awards

     until such other conditions for disbursement are met.. Nothing in this Order shall impair, affect,

     or relieve the jurisdictions or any other Byrne JAG award recipient within the District of Oregon

     from the obligation to certify and comply with any and all other grant conditions apart from the

     Immigration Enforcement Requirements, nor shall it impair Defendants’ ability to enforce the

     conditions in the awards other than the Immigration Enforcement Requirements.



              Acceptance of the FY 2017 and/or FY 2018 awards by the Oregon Criminal Justice

     Commission, the City of Portland, and/or any Oregon political subdivision shall not be construed

     as acceptance of the enjoined conditions.

              After the jurisdiction or entity accepts the FY 2017 and/or FY 2018 awards, Defendants
     are further ORDERED to process and approve the jurisdiction’s requests for drawdowns of the

     jurisdiction’s FY 2017 and/or FY 2018 Byrne JAG funds as it would in the ordinary course, and

     without regard to the enjoined conditions, or compliance with 8 U.S.C. §§ 1373 and 1644, or

     whether the jurisdiction spent its own money on the program or activity funded.

                                                     COSTS
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              Plaintiffs are awarded their reasonable costs and expenses, not including the fees and

     expenses of attorneys, pursuant to 28 U.S.C. §§ 1920 and 2412. Plaintiff will file a motion

     pursuant to Fed. R. Civ. P. 54 no later than 14 days after the entry of judgment.



     IT IS SO ORDERED



              DATED August          , 2019.



     Submitted by:




     MARC ABRAMS #890149




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